Case 5:17-cv-00220-LHK Document 946-1 Filed 11/29/18 Page 1 of 20




           EXHIBIT A
     Case 5:17-cv-00220-LHK Document 946-1 Filed 11/29/18 Page 2 of 20



 1   FEDERAL TRADE COMMISSION                 CRAVATH, SWAINE & MOORE LLP
     Jennifer Milici                          Gary A. Bornstein (pro hac vice)
 2   J. Alexander Ansaldo                     gbornstein@cravath.com
                                              Yonatan Even (pro hac vice)
 3   Joseph R. Baker                          yeven@cravath.com
     Elizabeth A. Gillen                      825 Eighth Avenue
 4   Daniel Matheson                          New York, New York 10019-7475
     Mark Woodward                            Telephone: (212) 474-1000
 5   600 Pennsylvania Avenue, N.W.            Facsimile: (212) 474-3700
     Washington, D.C. 20580
 6   Tel.: (202) 326-2912                     KEKER, VAN NEST & PETERS LLP
                                              Robert A. Van Nest (SBN 84065)
 7   Fax: (202) 326-3496                      rvannest@keker.com
     jmilici@ftc.gov                          Eugene M. Paige (SBN 202849)
 8                                            epaige@keker.com
     Attorneys for Plaintiff                  Justina Sessions (SBN 270914)
 9   FEDERAL TRADE COMMISSION                 jsessions@keker.com
                                              633 Battery Street
10                                            San Francisco, CA 94111-1809
                                              Telephone: (415) 391-5400
11                                            Facsimile: (415) 397-7188
12                                            MORGAN, LEWIS & BOCKUS LLP
                                              Richard S. Taffet (pro hac vice)
13                                            richard.taffet@morganlewis.com
                                              101 Park Avenue
14                                            New York, New York 10178-0060
                                              Tel: (212) 309-6000
15
                                              Fax: (212) 309-6001
16
                                              Attorneys for Defendant
17                                            QUALCOMM INCORPORATED

18                                            Additional Counsel in the Signature Block

19
                             UNITED STATES DISTRICT COURT
20
                          NORTHERN DISTRICT OF CALIFORNIA
21
                                     SAN JOSE DIVISION
22

23   FEDERAL TRADE COMMISSION,                Case No. 5:17-cv-00220-LHK

24                    Plaintiff,
                                              JOINT STIPULATION REGARDING
25              vs.                           UNDISPUTED FACTS

26   QUALCOMM INCORPORATED, a Delaware
     corporation,
27
                      Defendant.
28

                                                       Joint Stipulation Regarding Undisputed Facts
                                                                       Case No. 5:17-cv-00220-LHK
     Case 5:17-cv-00220-LHK Document 946-1 Filed 11/29/18 Page 3 of 20



 1          Plaintiff the Federal Trade Commission (“FTC”) and Defendant Qualcomm Incorporated
 2   (“Qualcomm”) (collectively, the “Parties”) respectfully submit this Joint Stipulation Regarding
 3   Undisputed Facts.
 4          The following facts are undisputed, and the Parties hereby stipulate to them for
 5   incorporation into the trial record without the necessity of supporting testimony or exhibits.
 6   However, the Parties agree that neither Party will object to the presentation of evidence in support
 7   of these stipulated facts at trial on the ground that such facts were the subject of this stipulation.
 8   The Parties agree that the stipulation of facts below is made without prejudice to each Party’s
 9   ability to bring any motions in limine.
10          For purposes of the stipulated facts below: “Cellular Handsets” shall refer to complete
11   cellular end-user cellular telephones, including feature phones and smartphones.
12          1.      QUALCOMM Incorporated (“Qualcomm”) is headquartered in San Diego,
13   California.
14          2.      Since at least 1989, Qualcomm has been, and is now, a corporation.
15          3.      Since at least 1989, Qualcomm has been, and is now, engaged in interstate and
16   international commerce.
17          4.      Qualcomm’s operating segment relating to its chip and software business is called
18   Qualcomm CDMA Technologies (“QCT”). Qualcomm’s operating segment relating to the
19   licensing of its patents is called Qualcomm Technology Licensing (“QTL”).
20          5.      In 2012, Qualcomm created Qualcomm Technologies, Inc. (“QTI”), a wholly
21   owned subsidiary of Qualcomm. QTI operates substantially all of Qualcomm’s products and
22   services businesses, including QCT, as well as substantially all of Qualcomm’s engineering,
23   research and development functions. Qualcomm continues to operate QTL.
24          6.      Qualcomm CDMA Technologies Asia -Pacific Pte. Ltd. (“QCTAP”), a Singapore
25   company, is a wholly owned indirect subsidiary of Qualcomm.
26          7.      Cellular communications depend on widely distributed networks that implement
27   cellular communications standards.
28
                                                        1            Joint Stipulation Regarding Undisputed Facts
                                                                                     Case No. 5:17-cv-00220-LHK
     Case 5:17-cv-00220-LHK Document 946-1 Filed 11/29/18 Page 4 of 20



 1          8.      Some OEMs have purchased multimode modem chips for use in Cellular Handsets
 2   intended for operation on the major U.S. wireless networks.
 3          9.      Cellular Handsets are designed, marketed, and sold by original equipment
 4   manufacturers (“OEMs”) such as Samsung, Huawei, Apple, Xiaomi, Oppo, Vivo, Google,
 5   Lenovo/Motorola Mobility, and LG.
 6          10.     Consumers purchase Cellular Handsets for a variety of reasons, including for
 7   (a) their ability to transmit and receive data at high-speeds over cellular networks, such as those
 8   implementing LTE, the highest-speed cellular standard which has been widely commercialized to
 9   date, and (b) their ability to perform voice calls.
10          11.     The Third Generation Partnership Project (“3GPP”) and the Third Generation
11   Partnership Project 2 (“3GPP2”) are global collaborative partnerships of standards
12   development/standards-setting organizations (“SDOs” or “SSOs”) and other industry participants
13   that develop technical specifications for cellular standards.
14          12.     The current “organizational partners” of 3GPP are seven regional SDOs,
15   specifically: the European Telecommunications Standards Institute (“ETSI”), the Alliance for
16   Telecommunications Industry Solutions (“ATIS”), the Association of Radio Industries and
17   Businesses, Japan (“ARIB”), the Telecommunication Technology Committee, Japan (“TTC”), the
18   China Communications Standards Association (“CCSA”), the Telecommunications Standards
19   Development Society, India (“TSDSI”), and the Telecommunications Technology Association,
20   Korea (“TTA”).
21          13.     The current organizational partners of 3GPP2 are five regional SDOs, specifically:
22   the Telecommunications Industry Association (“TIA”), ARIB, TTC, CCSA, and TTA.
23          14.     Cellular communications standards have evolved over “generations,” including
24   second-generation (“2G”), third-generation (“3G”), and fourth-generation (“4G”) standards.
25          15.     2G cellular standards include the Global System for Mobile (“GSM”) and
26   cdmaOne (also sometimes called “TIA/EIA/IS-95” or “IS-95”).
27          16.     ETSI adopted GSM as a cellular standard. ETSI also adopted General Packet
28
                                                           2         Joint Stipulation Regarding Undisputed Facts
                                                                                     Case No. 5:17-cv-00220-LHK
     Case 5:17-cv-00220-LHK Document 946-1 Filed 11/29/18 Page 5 of 20



 1   Radio Service (“GPRS”) and Enhanced Data Global Evolution (“EDGE”) as improvements to
 2   GSM. These are considered 2G standards.
 3          17.     GSM uses time division multiple access (“TDMA”) technology.
 4          18.     TIA adopted cdmaOne as a cellular standard. TIA also adopted IS-95A and
 5   IS-95B as improvements to cdmaOne. These are considered 2G standards.
 6          19.     cdmaOne uses code division multiple access (“CDMA”) technology.
 7          20.     3G cellular standards include the Universal Mobile Telecommunications System
 8   (“UMTS”) and CDMA2000.
 9          21.     UMTS is an umbrella term for three 3G cellular air interfaces standardized within
10   3GPP: UTRA-FDD, commonly called Wideband CDMA (“WCDMA”), used worldwide; UTRA-
11   TDD High Chip Rate, having little deployment; and UTRA-TDD Low Chip Rate, commonly
12   called Time Division-Synchronous CDMA (“TD-SCDMA”), used primarily in China. The term
13   HSDPA refers to certain additional UMTS features included in Release 5. HSUPA refers to
14   certain additional UMTS features included in Release 6. The combination of HSDPA and
15   HSUPA is commonly called HSPA, and HSPA/HSPA+ refers to certain additional UMTS
16   features included in Release 7 and beyond.
17          22.     Included within the CDMA2000 family of standards are CDMA2000 1x, often
18   called 1xRTT, and High Rate Packet Data, often called 1xEV-DO or EV-DO.
19          23.     CDMA2000 was standardized by 3GPP2.
20          24.     In the United States, AT&T and T-Mobile have operated WCDMA networks.
21   Verizon and Sprint have operated CDMA2000 networks.
22          25.     All four major U.S. carriers (Verizon, AT&T, T-Mobile and Sprint) have deployed
23   Long Term Evolution (“LTE”), which also encompasses the LTE Advanced, or “LTE-A,”
24   standard), as their 4G standard.
25          26.     LTE uses orthogonal frequency division multiple access (“OFDMA”) technology
26   for downlink transmissions and single-carrier frequency division multiple access (“SC-FDMA”)
27   technology for uplink transmissions.
28
                                                     3          Joint Stipulation Regarding Undisputed Facts
                                                                                Case No. 5:17-cv-00220-LHK
Case 5:17-cv-00220-LHK Document 946-1 Filed 11/29/18 Page 6 of 20
Case 5:17-cv-00220-LHK Document 946-1 Filed 11/29/18 Page 7 of 20
Case 5:17-cv-00220-LHK Document 946-1 Filed 11/29/18 Page 8 of 20
Case 5:17-cv-00220-LHK Document 946-1 Filed 11/29/18 Page 9 of 20
Case 5:17-cv-00220-LHK Document 946-1 Filed 11/29/18 Page 10 of 20
Case 5:17-cv-00220-LHK Document 946-1 Filed 11/29/18 Page 11 of 20
Case 5:17-cv-00220-LHK Document 946-1 Filed 11/29/18 Page 12 of 20
     Case 5:17-cv-00220-LHK Document 946-1 Filed 11/29/18 Page 13 of 20



 1   this role for approximately ten years, and has worked at Qualcomm since 1993.
 2          113.   Jeffrey (Jeff) Altman worked in Business Development within QTL from 1998
 3   until his retirement on January 3, 2018. He joined Qualcomm in 1992.
 4          114.   Steven (Steve) Altman was President of Qualcomm from 2005 to 2011, and Vice
 5   Chairman from November 2011 until his retirement in January 2014. Prior to those roles, he had
 6   worked at Qualcomm since 1989, in various roles including General Counsel, Senior Vice
 7   President and Vice President.
 8          115.   Cristiano Amon is President of Qualcomm, a position he has held since January
 9   2018, and oversees Qualcomm’s semiconductor business. He was previously Executive Vice
10   President and President of QCT from 2015 to December 2018, and was Executive Vice President
11   and Co-President of QCT from 2012 to 2015. He started at Qualcomm in 1995 and since then,
12   excluding a period from June 1999 to November 2001 during which he was not employed by
13   Qualcomm, has held various other roles relating to Qualcomm’s semiconductor business.
14          116.   Robert (Xiaopeng) An was Senior Director of Business Development at QTL,
15   located in Beijing, until August 2018. He began working at Qualcomm in approximately 2010.
16          117.   Marvin (Marv) Blecker was Senior Vice President of QTL from April 1995 to
17   April 2005 and General Manager of QTL from November 2001 to April 2005, and then President
18   of QTL from April 2005 through October 2008, also serving as Executive Vice President of
19   Qualcomm from 2006 through October 2008. He also served as Senior Vice President of QTL
20   from October 2008 until his retirement in February 2014. He joined Qualcomm in 1992.
21          118.   Lorenzo Casaccia is Vice President of Technical Standards at Qualcomm Europe
22   Inc. He has been the lead for Qualcomm’s 3GPP technical standards efforts since 2008. He
23   joined Qualcomm in 2001.
24          119.   Yunhui Chae-Banks is Vice President of Business Development at QTL a position
25   she has held since 2016. Prior to her current role, she was an attorney for QTL and other
26   Qualcomm business units since she started at Qualcomm in 2003.
27          120.   Anand Chandrasekher was Senior Vice President and General Manager for
28
                                                    11           Joint Stipulation Regarding Undisputed Facts
                                                                                 Case No. 5:17-cv-00220-LHK
     Case 5:17-cv-00220-LHK Document 946-1 Filed 11/29/18 Page 14 of 20



 1   Qualcomm’s Datacenter Technologies Inc. from December 2015 until departing Qualcomm in
 2   July 2018. He previously was Senior Vice President for Business Development of the Data
 3   Center Group from October 2013 to December 2015, and was Senior Vice President and Chief
 4   Marketing Officer from August 2012, when he joined Qualcomm, until October 2013.
 5          121.    Liren Chen is Senior Vice President of Engineering and Legal Counsel in QTL,
 6   where he leads QTL’s technology and product management team. He has been a Senior Vice
 7   President of Engineering and Legal Counsel since October 2015; prior to that, from February
 8   2009, he was Vice President of Engineering and Legal Counsel in the Intellectual Property and
 9   Strategic IP departments. He joined Qualcomm in 1996.
10          122.    Victoria (Vicky) Chen is Senior Vice President, Legal Counsel at QTI. She started
11   at Qualcomm in 1998 as Attorney in the subscriber unit group. That group was sold to Kyocera
12   Wireless in 2000, and she re-joined Qualcomm in 2004.
13          123.    David Cianflone is Senior Vice President, Finance at QTL. Prior to his current
14   position, he has held various finance roles for different Qualcomm business units since he started
15   in 1998.
16          124.    George Davis is Executive Vice President and Chief Financial Officer for
17   Qualcomm, and has been since he joined Qualcomm in March 2013.
18          125.    Jim Doh was Vice Chairman, Qualcomm Asia, from approximately 2014 until his
19   retirement in January 2017. He previously held various other roles, including Senior Vice
20   President of Worldwide Sales, President of QCT Asia, and Senior Vice President and President of
21   QCT, since he started at Qualcomm in 1997.
22          126.    Deborah Dwight is Vice President, Division Counsel at QTL, a position she has
23   held since May 2017. She previously held various other roles as an attorney in QTL and in
24   Qualcomm’s Corporate Legal department since starting at the company in 2001.
25          127.    Fabian Gonell is Senior Vice President, Licensing Strategy, and Legal Counsel at
26   QTL and has been in this role since 2017. Prior to his current role, he has held roles as Division
27   Counsel and as an attorney in QTL since 2009, and as an attorney in Qualcomm’s Corporate
28
                                                     12           Joint Stipulation Regarding Undisputed Facts
                                                                                  Case No. 5:17-cv-00220-LHK
     Case 5:17-cv-00220-LHK Document 946-1 Filed 11/29/18 Page 15 of 20



 1   Legal department from 2007 to 2009.
 2          128.     Matthew Grob was Executive Vice President of Technology from April 2017 until
 3   May 2018. He previously was Qualcomm’s Chief Technology Officer from 2011 to March 2017,
 4   Senior Vice President of Engineering in Qualcomm’s Corporate R&D unit from 2006 to 2010,
 5   and held other engineering roles at Qualcomm since starting at the company in 1991.
 6          129.     Kirti Gupta was Director of Economic Strategy within Qualcomm’s Strategic
 7   Intellectual Property group from approximately 2012 through 2016, when she assumed her
 8   current role as Senior Director of Economic Strategy within Qualcomm’s legal department. She
 9   previously held various other roles since starting in Qualcomm, with the exception of a brief
10   period from late 2008 through early 2009, when she was not a Qualcomm employee.
11          130.     Michael Hartogs was Senior Vice President and Division Counsel of QTL from
12   October 2006 until 2012, and was Vice President and Division Counsel of QTL from June 2005
13   until February 2012. He held roles in Qualcomm’s Corporate Legal department when since he
14   joined the company in 1999.
15          131.     Irwin Jacobs was a co-founder of Qualcomm in 1985. He has served as President,
16   Chief Executive Officer and Chairman of the company. He left his role as Chief Executive
17   Officer in 2005 and retired from Qualcomm in 2009.
18          132.     Paul Jacobs served as Chairman of the Qualcomm Board of Directors from March
19   2009 to March 2014, as Executive Chairman of the Board of Directors from March 2014 to
20   March 2018. Mr. Jacobs also served as a Director from June 2005 to March 2018. He served as
21   Chief Executive Officer from June 2005 to March 2014. He began working at Qualcomm full-
22   time in 1990.
23          133.     Sanjay Jha was President of QCT from 2003 to 2008, as well as Chief Operating
24   Officer of Qualcomm from 2006 to 2008. He also served as Executive Vice President of QCT
25   from 2003 to 2006. He joined Qualcomm in 1994.
26          134.     Aliyar (Alex) Katouzian is Senior Vice President and General Manager of the
27   Mobile Business Operations Unit at QTI. He joined Qualcomm in October 2002.
28
                                                     13          Joint Stipulation Regarding Undisputed Facts
                                                                                 Case No. 5:17-cv-00220-LHK
     Case 5:17-cv-00220-LHK Document 946-1 Filed 11/29/18 Page 16 of 20



 1           135.   Eric Koliander is Vice President, Sales, in QCT. He joined Qualcomm in 2006.
 2           136.   Keith Kressin is Senior Vice President of Product Management at QTI, a position
 3   he has held since 2015. He has held various other roles in QTI and QCT since he joined
 4   Qualcomm in 2008.
 5           137.   James (Jim) Lederer was Executive Vice President and General Manager of QCT
 6   from May 2009 until his retirement in January 2014. He previously held other roles at
 7   Qualcomm since he joined the company in 1997.
 8           138.   Louis (Lou) Lupin was Senior Vice President, General Counsel, from 2000 to
 9   2006, and Executive Vice President and General Counsel of Qualcomm from 2006 to August
10   2007. He served as Legal Consultant from August 2007 until his retirement in August 2014. He
11   previously held other roles at Qualcomm. He joined Qualcomm in 1995.
12           139.   Durga Malladi is Senior Vice President of Engineering and General Manager of
13   4G/5G at QTI. He has held this role since June 2018. He held various other roles, including
14   Senior Vice President, Vice President of Engineering, Senior Director of Engineering, and Senior
15   Engineer, since he started at Qualcomm in 1998.
16           140.   Roger Martin was Senior Vice President, Chief IP Strategist at Qualcomm, from
17   October 2008 until his retirement in March 2018. From April 2003 to October 2008 he served as
18   Vice President, Patent Counsel, and has held various other roles since he joined Qualcomm in
19   1993.
20           141.   Sanjay Mehta is Senior Vice President for Compute Products, a role has held since
21   July 2018. He previously was Senior Vice President of QCT China from 2016 to July 2018, and
22   held various other roles in QCT since he started at Qualcomm in 2004.
23           142.   Steven (Steve) Mollenkopf is Chief Executive Officer of Qualcomm, a position he
24   has held since March 2014. Prior to being Chief Executive Officer, he was President from
25   November 2011 to March 2014, Chief Operating Officer from approximately November 2011 to
26   December 2013, and prior to that he was Executive Vice President and President of QCT. He
27   previously held various other roles at Qualcomm since he started with the company in 1994.
28
                                                    14          Joint Stipulation Regarding Undisputed Facts
                                                                                Case No. 5:17-cv-00220-LHK
     Case 5:17-cv-00220-LHK Document 946-1 Filed 11/29/18 Page 17 of 20



 1          143.   Kun Qian is Vice President of Business Development at QTL. He has been in this
 2   role since April 2017. Prior to that role, he was Vice President, Account Management, from
 3   November 2016 to April 2017. Before 2016 he was responsible for QCT’s China sales, and he
 4   held various other sales roles since he started at Qualcomm in 2004.
 5          144.   Eric Reifschneider was Senior Vice President at QTL from March 2016 until his
 6   departure from the company in July 2016. He previously served as Senior Vice President and
 7   General Manager of QTL from April 2012, when he started at Qualcomm, to March 2016.
 8          145.   Hank Robinson worked at QCT in various sales positions from approximately
 9   2000 through 2015. His last position was Vice President of Sales in QCT.
10          146.   Alexander (Alex) Rogers is Executive Vice President of Qualcomm and President
11   of QTL, positions he has held since 2016. He previously held other roles in QTL and
12   Qualcomm’s Corporate Legal department since joining the company in 2001.
13          147.   Abbaseh Samimi is Vice President of Strategic Market Analysis and Contracts at
14   QTL, a position she has held since October 2008. She has held other roles at Qualcomm since
15   joining the company in 1996.
16          148.   James (Jim) Thompson is Executive Vice President of Engineering and Chief
17   Technology Officer of QTI. Previously, he was Senior Vice President of Engineering within
18   QCT’s Engineering Management unit, and Mr. Thompson has overseen all of QCT engineering
19   since 2004. He joined Qualcomm in 1992.
20          149.   Edward (Ed) Tiedemann, Jr., is Senior Vice President, Engineering within the
21   Qualcomm Standards and Industry Organization unit at QTI.
22          150.   Jonathan Weiser is Senior Vice President and Division Counsel at QTI, positions
23   he has held since June 2011. He joined Qualcomm in 1994.
24          151.   Serge Willenegger is Senior Vice President and General Manager of Industrial
25   IOT in QTI’s Swiss Department business unit. He joined Qualcomm in 1995.
26          152.   David (Dave) Wise is Senior Vice President and Treasurer at Qualcomm, positions
27   he has held since December 2015. He held various other roles since he joined Qualcomm in
28
                                                    15           Joint Stipulation Regarding Undisputed Facts
                                                                                 Case No. 5:17-cv-00220-LHK
     Case 5:17-cv-00220-LHK Document 946-1 Filed 11/29/18 Page 18 of 20



 1   1997.
 2           153.   William (Will) Wyatt is Vice President, Finance at QTI, a position he began in
 3   October 2012. He joined Qualcomm in 2005.
 4

 5

 6

 7

 8
 9

10

11

12

13

14

15

16

17

18

19
20

21

22

23

24

25

26

27

28
                                                    16          Joint Stipulation Regarding Undisputed Facts
                                                                                Case No. 5:17-cv-00220-LHK
     Case 5:17-cv-00220-LHK Document 946-1 Filed 11/29/18 Page 19 of 20



 1   Dated: November 29, 2018
                                        Respectfully submitted,
 2

 3
                                         FEDERAL TRADE COMMISSION,
 4
                                                         /s/ Jennifer Milici
 5                                                          Jennifer Milici
 6                                       J. Alexander Ansaldo
                                         Joseph R. Baker
 7                                       Elizabeth A. Gillen
                                         Daniel Matheson
 8
                                         Mark Woodward
 9                                       Federal Trade Commission
                                         600 Pennsylvania Avenue, N.W.
10                                       Washington, D.C. 20580
                                         Tel.: (202) 326-2912
11                                       Fax: (202) 326-3496
12                                       jmilici@ftc.gov

13                                       Attorneys for Plaintiff Federal Trade Commission

14                                      CRAVATH, SWAINE & MOORE LLP,
15                                                      /s/ Gary A. Bornstein
16                                                       Gary A. Bornstein
                                                            Yonatan Even
17
                                        Worldwide Plaza
18                                        825 Eighth Avenue
                                              New York, NY 10019
19                                               Tel: (212) 474-1000
                                                     Fax: (212) 474-3700
20                                                       gbornstein@cravath.com
21                                                       yeven@cravath.com

22

23

24

25

26

27

28
                                          17          Joint Stipulation Regarding Undisputed Facts
                                                                      Case No. 5:17-cv-00220-LHK
     Case 5:17-cv-00220-LHK Document 946-1 Filed 11/29/18 Page 20 of 20


                                        Robert A. Van Nest
 1
                                        Eugene M. Paige
 2                                      Justina Sessions
                                        KEKER, VAN NEST & PETERS LLP
 3                                          633 Battery Street
                                                San Francisco, CA 94111-1809
 4                                                 Tel: (415) 391-5400
                                                       Fax: (415) 397-7188
 5
                                                           rvannest@keker.com
 6                                                         epaige@keker.com
                                                           jsessions@keker.com
 7
                                        Richard S. Taffet
 8                                      MORGAN, LEWIS & BOCKIUS LLP
 9                                         101 Park Avenue
                                               New York, NY 10178-0060
10                                                 Tel: (212) 309-6000
                                                       Fax: (212) 309-6001
11                                                         richard.taffet@morganlewis.com
12                                      Willard K. Tom
13                                      MORGAN, LEWIS & BOCKIUS LLP
                                           1111 Pennsylvania Ave. NW
14                                             Washington, DC 20004-2541
                                                   Tel: (202) 739-3000
15                                                     Fax: (202) 739 3001
                                                           willard.tom@morganlewis.com
16

17
                                        Geoffrey T. Holtz
18                                      MORGAN, LEWIS & BOCKIUS LLP
                                           One Market, Spear Street Tower
19                                             San Francisco, CA 94105-1126
                                                  Tel: (415) 442-1000
20
                                                      Fax: (415) 442-1001
21                                                        geoffrey.holtz@morganlewis.com

22                                      Attorneys for Defendant Qualcomm Incorporated

23

24

25

26

27

28
                                          18          Joint Stipulation Regarding Undisputed Facts
                                                                      Case No. 5:17-cv-00220-LHK
